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 4 Email: nfreyeslaw@gmail.com

 5 Attorney for Defendant
     PEDRO GAVINO-ROBLES
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 8                          IN THE UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                           CASE NO. 1:18-CR:00231 SKO
11                                 Plaintiff,            WAIVER OF APPEARANCE
                                                         AND ORDER
12   v.
13   PEDRO GAVINO and PEDRO
     GAVINO-ROBLES,
14
                                   Defendant.
15

16          Defendant, PEDRO GAVINO-ROBLES, hereby waives his right to be present in
17
     person in open court on this date February 4, 2019 at 1:00p.m. before the Honorable Judge
18
     Sheila K. Oberto in the above-entitled court. Defendant hereby requests the court proceed in
19
20 his absence and agrees that his interests will be deemed represented at future court-ordered

21 dates by presence of his attorney, NICHOLAS F. REYES. Defendant further agrees to be

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     present in person in court on notice to counsel at any future court dates including trial
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     confirmation and jury trial court date, or any date specifically requiring his physical
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25 presence.
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              Case 1:18-cr-00231-JLT-SKO Document 31 Filed 01/30/19 Page 2 of 3


     Dated: January ___, 2019                ___________________________
 1                                           PEDRO GAVINO-ROBLES
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 3                                           Respectfully Submitted,
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 5
     Dated: January 30, 2019                 /s/ Nicholas F. Reyes______
 6                                           Nicholas F. Reyes, Esq.
                                             Attorney for Defendant
 7                                           PEDRO GAVINO-ROBLES
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11                                            ORDER
12
              Good cause appearing,
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              IT IS HEREBY ORDERED that Defendant PEDRO GAVINO-ROBLES is
14
     excused from appearing at any future hearings, unless required by Rule 43 of the Federal
15
     Rules of Criminal Procedure.
16

17 IT IS SO ORDERED.

18
     Dated:     January 30, 2019                           /s/   Sheila K. Oberto         .
19                                                UNITED STATES MAGISTRATE JUDGE
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